Case 1:15-cv-06824-PGG Document 169-4 Filed 03/26/18 Page 1 of 2




                  EXHIBIT4
Case 1:15-cv-06824-PGG Document 169-4 Filed 03/26/18 Page 2 of 2




        Re: September .l3, 2Q.J.l Job.J)escrlptton/Perfonnance Evaluation
        Completed by iup~110T '~n, 9/:L3/i l arid.given to roe on 10/19/l l

        .I am very displeased norqaly Wiiii f;he ratings and remarks .of my ·evaluation., but the faet
                                      a
        that now l have t(>\"(lrile rebuttal. .               .          .
                                ""· ...._. '., ··.·~:p .       '     ..
        My evaluation wµ. co1npleted by my· S)Jpervisor ()n ,9/13111; .and 'I met with her. for
        supervision 0119/?8/1.1 anili 10/5/11 ~cno..}ish time to ~x~ew together iny evaluation, as jt
        should be d<ine, not handi;\(i. to~,me,,Qefora t!IQ due date that the evaluation h;is to be
        :submitted to the hea,d of the·<iCf!artrne~t.
                                  .    . ··. <~ . . .~! ·r.·:~~~"                                                          .
       ·As fat as my e.valu~~6'n; ! qq notra~~that I have difficulties engagi.Q.g.:and w~rld11g wi:th
        resiStan~ . families; .·The .f~iIJes':tnat .lias· perceived; me as lnoki.Dg sepmtM~ Md
        iipd¢,rstandirig in n\y ~pproa6h i!e transfi:rred to ao.othe~ clinician upon their re.quest, and
        to:my. lmowledge witl:iin a'riio'nth or, ~o tlie cas~. is: icrniinatcd tmd/i;>,r the a·~1kne¢1:
        eUnicJan
              . is. struggling
                       .     . '
                              -
                                 with
                                  . .
                                      the same
                                            . ...
                                                  issi1M that
                                                          ..· I was (lndergoi1Jg,
                                                                    ...   .
                                                                                           .

        As l ~ my e:Valu:ni:ion.1 felt disappo4ttcd aiid: ~d1scriminat~ by bias: r~marks ~f'.~y                                                                      •·
        i;:uJt~~ .aiid lan,gLiag~ • .~ beiievp my ·cajtttte'~d)ap~u~,t! doC:s-not interfere witJi. the w~J, ,
        peri'p?:m my jqb, l ~ understood -WReri"l spca¥ a.nil write in English, if l do ina)ft;·
        ~rurimatical errors, lapoiogjz~)>ut{;do. wi:>tk fi~d' and:I. utilize tools'to help me wi1h.my
        gnimmar such as si?ell ·check i)nd dfot.i<l.riary (I do believe wilh all at ;some pofat' ma'ke
                   . al
        ~atic . errors .
                               )               ' . . .:: .i.   .
                                                                               .
        ~ high ~o~wii,e of clien~ ~? ·pa~;'\v9~~1ne~~, ~eels ili~t I hay~ tq~{'fush~~"tb
       co~plctei !}le paper wor~ that ~s rcqutrcdtby tne agc!1~, in order to be ·µi'.3,90~ slandmg
       rto~ oilly for my.~lfbu.t.for ~o ·agency. as well. ;  ..~ :t                  ·
         I .am i~ the ·process ~f rcgistenhg fe>~ my.iu:S'w.   have sUbmittcd tl~~'·;eqµitect'              <J
      .. doouments to my supervisor ·Milagros Arel on to171il;1~aitlrig ta, be complete~ by
         .supervisor).                                         · -r                     '
                                                                                                                     ,•




       .                  r7~
                          ~.... · · t?y,--.



       Ruth Duarte, MSW
                          ~--~
                                      .,     ·
                                               __.,-
                                                                                                 ..                                      ·'
       CH~ic~      .. .




                                                                                                                                                         SBH000346

                                                  i l •y-r••        .,   1 ,,..,.. .. ~••   'f.,...., . ,n• ~   •   • ••       ,. ,..._ •• •   fJOltf•
